Case 2:16-cv-02859-CAS-PLA Document 518 Filed 06/04/18 Page 1 of 3 Page ID #:21470



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   15
   16                        UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
   17                             WESTERN DIVISION
   18    MACOM TECHNOLOGY                          Case No. CV 16-02859 CAS (PLAx)
         SOLUTIONS HOLDINGS, INC., a
   19    Delaware corporation, and                 MACOM’S NOTICE OF MOTION
         NITRONEX, LLC, a Delaware limited         AND MOTION FOR SUMMARY
   20                                              JUDGMENT ON ESTOPPEL
         liability company,
   21
                           Plaintiffs,             Hearing Date: July 19, 2018
   22                                              Hearing Time: 12:00 p.m.
               v.
   23                                              Courtroom: 8D
         INFINEON TECHNOLOGIES AG, a
   24    corporation organized under the laws of
         Germany, and INFINEON                     Complaint Filed: April 26, 2016
   25    TECHNOLOGIES AMERICAS                     Discovery Cutoff: June 29, 2018
   26    CORP., a Delaware corporation,            Pre-Trial Conference: March 4, 2019
                           Defendants.             Trial Date: March 26, 2019
   27
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Case 2:16-cv-02859-CAS-PLA Document 518 Filed 06/04/18 Page 2 of 3 Page ID #:21471



    1             TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
    2         PLEASE TAKE NOTICE that on July 19, 2018, at 12:00 p.m., or as soon
    3   thereafter as this matter may be heard, in the courtroom of the Honorable Christina
    4   A. Snyder, located in the United States Courthouse, 350 W. First Street, Courtroom
    5   8D, 8th Floor, Los Angeles, CA 90012, Plaintiffs MACOM Technology Solutions
    6   Holdings, Inc. and Nitronex, LLC (collectively “MACOM”) will and hereby do
    7   move for this Court for summary judgment that Defendants (collectively
    8   “Infineon”) are barred by the doctrines of assignee estoppel and judicial estoppel
    9   from contending that the patents-at-issue are invalid.
   10         Pursuant to Fed. R. Civ. P. 56, as well as L.R. 56, MACOM asserts that
   11   summary judgment is appropriate because the material facts are undisputed and the
   12   legal principles are clear. In satisfaction of L.R. 7-3, the parties have repeatedly
   13   conferred over the substance of this summary judgment motion in connection with
   14   briefing MACOM’s Motion to Strike Infineon’s Fifth Affirmative Defense of
   15   invalidity (ECF No. 331), the parties Joint Report regarding claim construction
   16   (ECF No. 418), and as part of the arguments before the Court at the Markman
   17   hearing on April 27, 2018. Additionally, the Court ordered MACOM to use the
   18   mechanism of a motion for summary judgment and determined the briefing
   19   schedule for this motion. ECF No. 496. This motion is supported by this Notice of
   20   Motion, the Memorandum in Support, the Statement of Uncontroverted Facts and
   21   Conclusion of Law, the Declaration of Ramsey M. Al-Salam filed herewith, the
   22   pleadings and papers on file, and such other and further argument and evidence
   23   presented prior to or at the hearing on the Motion.
   24
   25    DATED: June 4, 2018                  PERKINS COIE LLP
   26
   27                                         By:/s/ Amanda Tessar
                                                 Lara J. Dueppen, Bar No. 259075
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Case 2:16-cv-02859-CAS-PLA Document 518 Filed 06/04/18 Page 3 of 3 Page ID #:21472


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